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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO

CASE NO.       22-cr-00113-CMA-GPG

UNITED STATES OF AMERICA,

               Plaintiff,

v.

DEBRA CAMPBELL,

            Defendant.
_____________________________________________________________________________

                  MOTION FOR NON-GUIDELINE SENTENCE
                       AND SENTENCING STATEMENT
_____________________________________________________________________________

       Ms. Debra Campbell, by and through her attorney Mary V. Butterton, respectfully submits

this sentencing statement in support of her sentencing request of three years of probation, to include

a condition of at least six months of home confinement, and restitution. The requested sentence is

lower than that suggested by the advisory Sentencing Guidelines as promulgated by the Sentencing

Commission, but is commensurate with the statutory factors of 18 U.S.C. § 3553(a).

                                        Procedural Posture

        Ms. Campbell has been convicted of two financial fraud-related offenses, Wire Fraud (a

violation of 18 U.S.C. 1343) and Subscribing to a False Tax Return (26 U.S.C. §7206(1)). These

offenses are based on conduct that occurred in 2018 and some years prior; the matter then sat

dormant until a target letter was sent to Ms. Campbell in January 2022. Undersigned counsel was

appointed before charges were filed, and Ms. Campbell quickly agreed to waive indictment. An

Information was filed in April 2022, and Ms. Campbell entered a plea of guilty in June 2022. Docs.
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1, 9. Ms. Campbell has been on pretrial release for the life of this case with no incidents or issues

reported.

                             Nature and Circumstances of Offense

       The Presentence Report (Doc. 18) provides an accurate outline of the conduct in this case.

Ms. Campbell previously owned and operated a small business that managed the finances of local

homeowner’s associations (HOAs) in Mesa County, Colorado. Facing dire personal financial

circumstances due to her husband’s tax and business debt, she took out high-interest payday loans

that she could not repay. She began transferring money out of HOA accounts to pay her own bills

and support her kids, telling herself she would repay the money; but, as with many ill-advised

short-term financial band-aids, the situation spiraled and Ms. Campbell kept transferring money

to cover her own debts. When HOAs would approach her about account statements, she would

transfer money around or falsify the account balance; by mid-2018, when one HOA discovered

the discrepancy between Ms. Campbell’s reporting and their bank balances, everything came

crashing down. Later, when filing her own federal income taxes, she did not include her ill-gotten

gains nor her full income on her tax return.

       Ms. Campbell was interviewed by Grand Junction local law enforcement in June 2018 and

immediately admitted to taking the funds. Calling herself “unworthy and incompetent,” Ms.

Campbell cried and kept saying that she “screwed up,” and “wouldn’t want to fight it.” She said

she had planned to sell her business to pay back the HOAs but found no interested buyers. That

interview concluded without an arrest; a few days later, she called the Grand Junction police back,

saying she had received advice not to talk to the police but she wanted to accept responsibility.

She again interviewed with that agency in July 2018.

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       From there, nothing happened for a long time. Ms. Campbell was interviewed by an IRS

agent in February 2019, but after that the investigation seemed dormant, from Ms. Campbell’s

perspective, for literally years. During that time period she spiraled into a deep depression. She

stopped working and lived off of Social Security. She stopped leaving her house unless she

absolutely had to, out of fear and shame of running into a person from her former HOA business.

She lived in constant anxiety that any given moment might be the day law enforcement would

come to her door to drag her to jail. She gained weight and her health, already strained,

significantly worsened. This went on for three years, until she received a target letter in January

2022. Now, in a strange way, the procedure of this case has been a relief. Ms. Campbell has had

this matter hanging over her head for years, all the while willing to accept responsibility and

wanting to make things right.



                         History and Characteristics of Ms. Campbell

       The conduct in this case is a stain on an otherwise law-abiding long life. Debbie Campbell

was born in Utah and grew up on the Western Slope. She was much younger than her siblings and

was married by age 19. Her first husband was physically and emotionally abusive, frequently

berating her for being “fat” and “ugly.” She has two children from that marriage, both now adults.

       Ms. Campbell’s children are the center of her world. When her daughter Sara’s husband

left Sara and her children, Ms. Campbell supported them financially. When Ms. Campbell’s son

Brent had run-ins with the law, she bailed him out, took care of his children, and helped him with

bills. But in her efforts to be a supportive mother, she made poor financial decisions, and by 2015,



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was deeply in debt. These debts, paired with her husband’s large tax and business liabilities, were

the motivating factor behind the theft in the instant case.

       Now, at age 66, Ms. Campbell is facing her first and only criminal conviction. She lives

with her mother-in-law, who is in her 90s, and husband in a small house in Grand Junction. She is

in very poor health, suffering from Diastolic Heart Failure that requires her to wear an oxygen tank

daily. In the past year, she has also had water in her legs that has led to frequent large, oozing

sores. Most recently, she fell and cracked two vertebrae in her tailbone and now struggles to walk.

These physical ailments are on top of the extreme depression and anxiety – ailments that contribute

to Ms. Campbell’s near-agoraphobia. Ms. Campbell spends her days in her house, caring for her

mother-in-law; she has no friends, no employment, and leaves the house rarely, usually only to go

to the doctor.

                          Probation is the appropriate sentence here.

       This Court should impose a sentence of probation with a condition of home confinement.

This request is not based solely on the nature and characteristics of this offense, which are non-

violent in nature and at this point, fairly remote. This request is made because probation is

appropriate for this defendant under these circumstances. When fashioning a sentence, this Court

must consider the need for the sentence imposed:

       (A) to reflect the seriousness of the offense, to promote respect for the law, and to
       provide just punishment for the offense;
       (B) to afford deterrence to criminal conduct;
       (C) to protect the public from future crimes of the defendant; and
       (D) to provide the defendant with needed educational, or vocational training, medical
       care, or other correctional treatment in the most effective manner.




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18 U.S.C. § 3553(a). The Government, in its sentencing statement, cites the first two factors as

reasons to impose an incarcerative sentence (“[b]ecause of the seriousness of the defendant’s

crimes, the need to promote respect for the law and provide just punishment, and the need for

general and specific deterrence, the government requests that the Court impose a sentence that

includes 37 months of imprisonment.” Doc. 21 at 7). But while punishment may be a reason to

support incarceration, the other factors cited support probation.

       Why, precisely, is 37 months in prison necessary, for this elderly defendant in this non-

violent case, to promote respect for the law or to punish? Ms. Campbell has cooperated with

investigators from the beginning of this case, and has all but begged to proceed with consequences.

Instead, she waited for three anxious years with no answers. That delay, while certainly not the

same as incarceration, caused incredible anxiety and distress to a woman who was ready to plead

guilty from her first conversation with police. And, while a prison sentence may have some effect

on general deterrence, certainly the imposition of hefty restitution and tax fines – fines that are

outside of what the IRS will almost certainly seek in the civil context – are deterrence enough.

       But more importantly, the Government completely ignores the final two sentencing factors

of protecting the public and providing needed correctional treatment – probably because those

factors stand starkly in support of a sentence of probation. Ms. Campbell is no danger. She can

barely walk, much less harm anyone, and she no longer has the access to others’ accounts to be

any sort of financial danger. And as the Court is required to consider access to medical care, an

incarcerative sentence becomes near-cruel. Ms. Campbell needs frequent medical care for chronic

cardiovascular condition, but as the past several years of the COVID-19 pandemic has

demonstrated, the Bureau of Prisons (BOP) is ill-equipped to handle even basic medical needs. In

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fact, the BOP doesn’t even meet its own standards for quality of medical care,1 much less care for

a 66-year-old woman with major cardiac issues who requires on-hand oxygen.

        For these reasons, a sentence of incarceration will be much more difficult for Ms. Campbell

than it would for the average defendant. In some cases, the hardship of prison for an ill person may

be outweighed by the need to penalize egregious conduct; here, however, we have a first-time

offender who committed a non-violent financial crime against organizations formed for

neighborhood upkeep. This is not a case where justice requires the heavy hammer of punishment.

Rather, the instruction of the law to impose a sentence that is the lowest possible to achieve respect

for the law, deterrence, protection of the public, and treatment supports a sentence with harsh

restrictions short of incarceration.

                                                 Conclusion

        For the reasons outlined above, this Court should impose on Ms. Campbell a sentence of 3

years of probation, to include at least six months of home confinement. This outcome is just for

this woman and this case, and is sufficient to meet the statutory sentencing goals.



                                                    Respectfully submitted,

                                                    VIRGINIA L. GRADY
                                                    Federal Public Defender



                                                    s/ Mary V. Butterton
                                                    MARY V. BUTTERTON
                                                    Assistant Federal Public Defender

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  Pavlo, Walter, Federal Bureau of Prisons’ Medical Care Falls Short Of Its Own Policy, Forbes.com, April 19,
2022, accessible at https://www.forbes.com/sites/walterpavlo/2022/04/19/federal-bureau-of-prisons-medical-care-
falls-short-of-its-own-policy/?sh=41b66f355eab (last accessed 10/3/2022).
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                                CERTIFICATE OF SERVICE

       I hereby certify that on October 19, 2022, I filed the foregoing with the Clerk of Court via
email and copied the following email addresses:

       Pegeen Rhyne, Assistant United States Attorney
       Email: pegeen.rhyne@usdoj.gov

and I hereby certify that I have mailed or served the document or paper to the following non
CM/ECF participant in the manner (mail, hand-delivery, etc.) indicated by the non-participant’s
name:

       Debra Campbell (via U.S. Mail)



                                             s/ Mary V. Butterton
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